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 1                                 UNITED STATES DISTRICT COURT

 2                                        DISTRICT OF NEVADA

 3

 4 Michael Thomas Martinelli,                                 Case No. 2:23-cv-00423-JAD-EJY

 5               Plaintiff
         v.                                                  Order Granting Motion to Compel
 6                                                             Arbitration and Stay Lawsuit
         Tesla, Inc.,
 7                                                                    ECF Nos. 18, 19, 20
                 Defendant
 8

 9             In this employment action, Defendant Tesla, Inc. moves to compel arbitration of Plaintiff

10 Michael Thomas Martinelli’s unlawful-termination claim based on a December 2017 Employee

11 Transfer Agreement that requires “final, binding and confidential arbitration” of “any and all

12 disputes, claims, or causes of action, in law or equity, arising from or relating to” Martinelli’s

13 employment. 1 Tesla also moves to stay discovery pending this court’s decision on that motion to

14 compel and requests that this case be stayed while the arbitration proceeding moves forward. 2

15 Martinelli’s deadline to respond to those motions expired on June 25, 2024, with no response or

16 request to extend the deadline to file one. This Court’s Local Rule 7-2(d) provides that “[t]he

17 failure of an opposing party to file points and authorities in response to any motion, except a

18 motion under Fed. R. Civ. P. 56 or a motion for attorney’s fees, constitutes a consent to the

19 granting of the motion.” I apply that local rule and construe Martinelli’s failure to file any

20 response as his consent to granting the motions to compel arbitration and to stay this case

21 pending the conclusion of that proceeding.

22

23 1 ECF No. 18 at 2.
     2
         ECF Nos. 19, 20.
             Case 2:23-cv-00423-JAD-BNW Document 23 Filed 06/28/24 Page 2 of 2




 1            IT IS THEREFORE ORDERED THAT Tesla, Inc.’s motions to compel arbitration and to

 2 stay this case pending that arbitration [ECF Nos. 18, 20] are GRANTED. This case is

 3 STAYED while the parties arbitrate Martinelli’s claim in accordance with the terms of the

 4 arbitration clause in his Employee Transfer Agreement. 3

 5            IT IS FURTHER ORDERED THAT Tesla Inc.’s motion to stay discovery pending this

 6 court’s ruling on the motion to compel [ECF No. 19] is DENIED as moot.

 7            The Clerk of Court is directed to ADMINISTRATIVELY CLOSE this case.

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 9                                                      U.S. District Judge Jennifer A. Dorsey
                                                        June 28, 2024
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         ECF No. 18-1 at 8.

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